           Case 1:17-cr-00232-EGS Document 199 Filed 05/07/20 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA

     v.

     MICHAEL T. FLYNN,                                   Criminal Action No. 17-232-EGS

     Defendant.




                                MICHAEL FLYNN’S MOTION TO
                                WITHDRAW PENDING MOTIONS

          In consideration of the Government’s Motion to Dismiss Case, ECF No. 198, and pursuant

to counsel’s conference with counsel for the United States, Mr. Flynn moves this Court to

withdraw all of his motions currently pending before this Court, without prejudice to his refiling

for any reason, specifically:

   •      Mr. Flynn’s Motion to Withdraw Plea of Guilty filed on January 14, 2020, ECF Nos. 151,

          and his supplements to that motion filed on January 17 and 29, 2020. ECF Nos. 154, 160.

   •      Mr. Flynn’s Motion to Dismiss for Egregious Government Misconduct and in the Interest

          of Justice. ECF No. 162, filed on January 29, 2020, and the supplements to that motion

          filed on April 24 and 30, 2020. ECF Nos. 181, 188-190.

   •      Mr. Flynn’s Motion to Compel and Response to Covington & Burling’s Discovery

          Certifications. ECF No. 194, 195.

          Dated: May 7, 2020                  Respectfully submitted,

 /s/ Jesse R. Binnall                          /s/ Sidney Powell
 Jesse R. Binnall                              Sidney Powell
 Lindsay R. McKasson                           Molly McCann
 Harvey & Binnall, PLLC                        Sidney Powell, P.C.
       Case 1:17-cr-00232-EGS Document 199 Filed 05/07/20 Page 2 of 3



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                                     2
         Case 1:17-cr-00232-EGS Document 199 Filed 05/07/20 Page 3 of 3



                               CERTIFICATE OF SERVICE

       I hereby certify that on May 7, 2020 a true and genuine copy of this Motion to Compel and

Response to Notice was served via electronic mail by the Court’s CM/ECF system to all counsel

of record, including:

       Timothy J. Shea, U.S. Attorney for the District of Columbia
       Brandon L. Van Grack, Special Assistant U.S. Attorney
       Jocelyn Ballantine, Assistant U.S. Attorney
       555 4th Street, NW
       Washington, D.C. 20530

       It was served by email to nonparty Covington & Burling, LLP at the following:

       Robert K. Kelner
       Covington & Burling, LLP
       One CityCenter
       850 Tenth Street, NW
       Washington, DC 20001-4956
       rkelner@cov.com


                                                   Respectfully submitted,

                                                   /s/ Jesse R. Binnall
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                                               3
         Case 1:17-cr-00232-EGS Document 199-1 Filed 05/07/20 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.

    MICHAEL T. FLYNN,                                   Criminal Action No. 17-232-EGS

    Defendant.




                                     [PROPOSED] ORDER

         This matter is before the Court on Michael Flynn’s Motion to Withdraw All Pending

Motions. The Motion is GRANTED and the following motions are withdrawn, without prejudice:

   •     Mr. Flynn’s Motion to Withdraw Plea of Guilty filed on January 14, 2020, ECF Nos. 151,

         and his supplements to that motion filed on January 17 and 29, 2020. ECF Nos. 154, 160.

   •     Mr. Flynn’s Motion to Dismiss for Egregious Government Misconduct and in the Interest

         of Justice. ECF No. 162, filed on January 29, 2020, and the supplements to that motion

         filed on April 24 and 30, 2020. ECF Nos. 181, 188-190.

   •     Mr. Flynn’s Motion to Compel and Response to Covington & Burling’s Discovery

         Certifications. ECF No. 194, 195.

         So ordered.

         Dated: _______________                             _________________________
                                                            Emmitt G. Sullivan
                                                            United States District Judge
